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UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

 

Elizabeth Sines, et al.

Plaintiff

ys. Case No: 3:17CV00072

Jason Kessler, et al.

Defendant
AFFIDAVIT OF SERVICE

 

I, Scott Pomeroy, a Private Process Server, being duly swom, depose and say:

That I have been duly authorized to make service of the Summons, Civil Cover Sheet with Addendum, Complaint, and Plaintiffs’
Jury Demand in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this matter.

That on 11/02/2017 at 6:35 PM, I served Robert Ray (a/k/a Robert "Azzmador" Ray and Robert Warren Ray) with the Summons,
Civil Cover Sheet with Addendum, Complaint, and Plaintiffs' Jury Demand at 22345 Cherry Lane, Frankston, Texas 75763, by
serving Robert Ray, personally.

' Robert Ray is described herein as:

Gender: Male Race/Skin: White Age: 50 Weight: 220 Height: 6'3" Hair: Black/White Glasses: No

I do solemnly declare and affirm under penalty of perjury that I have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.

   

 

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Exécuted On

  

Client Ref Number:N/A
Job #: 1535258

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
